         Case 1:21-cr-00175-TJK Document 444 Filed 08/25/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                      :
                                              :
               v.                             :
                                              :      Case Number 21-cr-175 (TJK)
ETHAN NORDEAN, et. al.,                       :
                                              :
                       Defendants.            :

      GOVERNMENT’S MOTION FOR EXTENSION OF TIME TO RESPOND TO
                  DEFENDANTS’ MOTIONS TO DISMISS

       The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, hereby requests an extension of time in which to file its response to the

motions to dismiss filed to date by the defendants.         The government is seeking a modest

extension—from September 2 to September 7, 2022, and it does not expect that the requested

extension would affect the motions hearing presently scheduled for September 29, 2022. In

support of its request, the government states as follows:

       On July 6, 2022, the Court issued a scheduling order directing the defendants to file any

motions to dismiss by August 19, 2022, with government responses due on September 2, 2022,

replies due on September 12, 2022, and a hearing on September 29, 2022. ECF No. 426. On

August 19, 2022, defendant Nordean filed a motion to dismiss, which defendants Rehl and Tarrio

have sought to join. ECF Nos. 434-436. On that same date, defendant Rehl filed two additional

motions to dismiss and a motion for an extension of the August 19 deadline to file additional

motions. ECF Nos. 437-439. On August 24, 2022, defendant Rehl filed three additional motions

to dismiss. ECF Nos. 440, 442, 443.
         Case 1:21-cr-00175-TJK Document 444 Filed 08/25/22 Page 2 of 3




       The government plans to file an omnibus response to all the motions to dismiss filed to

date. In the government’s view, an omnibus response is warranted because some of the claims

overlap, and in any event an omnibus response, with a single factual and procedural history section,

will promote judicial economy. Given that Rehl filed three substantive motions three business

days after the deadline, the government seeks a commensurate extension to file its omnibus

response, to September 7, 2022. 1 The government does not oppose a similar extension to the

deadline for the defendants to file replies, to September 15, 2022. Such a modest extension would

not prejudice any party, as it would still leave two weeks between the date replies are due and the

September 29 motions hearing, thus allowing that hearing to go forth as currently scheduled.




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        The government does not oppose Rehl’s motion for an extension to file those motions, so
long as the Court grants the relief requested in this motion.
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         Case 1:21-cr-00175-TJK Document 444 Filed 08/25/22 Page 3 of 3




       Accordingly, the government requests that the Court sign the attached proposed order

extending the deadline for responses to the defendants’ motions to dismiss.


                                                    Respectfully submitted,
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